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                            PIN UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                             SHERMAN DIVISION

                                           DATE: 11/9/2020

DISTRICT JUDGE                                       COURT REPORTER: Chris Bickham
Amos L. Mazzant, III                                 COURTROOM DEPUTY: Keary Conrad
  ResMan, LLC
                                                    4:19-CV-402
  v.

  Kayra Property Management, LLC.


  ATTORNEYS FOR PLAINTIFF                        ATTORNEYS FOR DEFENDANT
  Maria Boyce, Jillian Beck, Cristina            Mark Strachan, Dick Sayles, Michael Richardson, Seepan
  Rodriguez, Mike Jones                          Parseghian
  Client Rep: Nick Olsen                         Client Reps: Ashwin Schetty, Jiten Agarwal

On this day, came the parties by their attorneys and the following proceedings were held in Sherman, TX:

 TIME:           MINUTES: Jury Trial (Day 6)
 8:27:10 a.m.    Court in session. Court notes appearance of the Parties.
 8:27:26 a.m.    Defendant’s counsel, Michael Richardson regarding exhibit objection and limine ruling.
                 Defendant’s counsel, Michael Richardson requests that Defendant’s be allowed to use
                 Defendant’s Exhibit 222. Court hears response from Plaintiff’s counsel, Cristina Rodriguez.
                 Court stands by the ruling. Court denies admission of Defendant’s Exhibit 222.
 8:30:19 a.m.    Court advises counsel that Juror #4 has had a death in the family. Court inquires as to
                 whether Parties wish to delay the trial until the juror returns or proceed with the 6 jurors
                 remaining. Plaintiff’s counsel, Maria Boyce advises Plaintiffs wish to go forward.
                 Defendant’s counsel, Michael Richardson objects to proceeding without that juror. Court
                 overrules the objection and will release the juror finding that 6 jurors are sufficient for a
                 federal civil trial.
 8:31:05 a.m.    Court discusses proposed instruction regarding attorney’s fees filed over the weekend.
                 Plaintiff’s counsel, Maria Boyce advises that Plaintiffs have filed a response. Court will
                 review that and the Parties will revisit the issue if necessary.
 8:31:37 a.m.    Jury seated.
 8:34:20 a.m.    Witness, Steven Kursh is reminded he is still under oath. Karya Property’s counsel, Michael
                 Richardson continues cross examination of witness, Steven Kursh.
 9:00:25 a.m.    Defendant’s counsel, Michael Richardson refers witness to Defendant’s Exhibit 100.
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9:00:31 a.m.    Defendant’s counsel, Michael Richardson shows witness a list of Defendant’s Exhibits 268 -
                312 but not each individual exhibit.
9:11:39 a.m.    Pass the witness.
9:11:39 a.m.    Plaintiff’s counsel, Cristina Rodriguez begins re-direct examination of witness, Steven
                Kursh.
9:12:42 a.m.    Plaintiff’s counsel, Cristina Rodriguez refers witness, Steven Kursh to Defendant’s Exhibit
                303.
9:20:19 a.m.    Pass the witness.
9:20:19 a.m.    Defendant’s counsel, Michael Richardson begins re-cross examination of witness, Steven
                Kursh.
9:21:28 a.m.    Defendant’s counsel, Michael Richardson refers witness, Steven Kursch to Plaintiff’s
                Exhibit 655.
9:22:30 a.m.    Pass the witness.
9:23:26 a.m.    Court polls the jury for questions.
9:23:34 a.m.    Bench conference to review questions.
9:24:22 a.m.    Court presents questions from the jury to the witness, Steven Kursh.
9:26:37 a.m.    Witness excused.
9:26:49 a.m.    Defendant’s counsel, Dick Sayles calls Ashwin Shetty.
9:27:20 a.m.    Witness, Ashwin Shetty placed under oath.
9:27:34 a.m.    Defendant’s counsel, Dick Sayles begins direct examination of Ashwin Shetty.
9:48:25 a.m.    Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Plaintiff’s Exhibit 598.
9:53:17 a.m.    Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Plaintiff’s Exhibit 26.
9:59:36 a.m.    Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 44.
10:01:48 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Plaintiff’s Exhibit 28.
10:03:05 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 6.
10:09:44 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 136.
10:16:12 a.m.   Jury excused for morning break.
10:17:09 a.m.   Court recess for 15 minutes.
10:34:07 a.m.   Court re-convened.
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10:34:45 a.m.   Jury seated.
10:35:17 a.m.   Defendant’s counsel, Dick Sayles continues direct examination of Ashwin Shetty.
10:48:04 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 64.
11:01:20 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 52.
11:11:09 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 328.
11:18:22 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 294.
11:23:57 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 289.
11:29:51 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 56.
11:39:22 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 313.
11:50:32 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Plaintiff’s Exhibit 354.
11:51:53 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Plaintiff’s Exhibit 377.
11:54:44 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 145.
11:56:48 a.m.   Defendant’s counsel, Dick Sayles refers witness, Ashwin Shetty to Defendant’s Exhibit 420.
12:01:15 p.m.   Plaintiff’s counsel, Maria Boyce requests permission to use music stand for closing to avoid
                getting too close to the jury. Court approves.
12:02:00 p.m.   Court recess for lunch.
1:01:51 p.m.    Court re-convened.
1:02:00 p.m.    Court advises Counsel that Juror #4 tested positive for COVID. Juror was excused over the
                weekend so last exposure was on Friday. Court proposes that we suspend the trial and
                resume next Tuesday. Jurors will be asked to get a test on Friday and provide Keary Conrad
                the results as soon as they are received. Assuming there are no positives, the trial will
                resume on Tuesday, November 17th. Parties agree with that arrangement.
1:05:02 p.m.    Jury seated.
1:05:47 p.m.    Court advises jury that juror tested positive. Because of that, under the CDC guidelines the
                Court will suspend the trial. Court advises jurors to consult with their own physician
                regarding self-quarantine. Court requests the jurors get tested by Friday and provide CRD,
                Keary Conrad with results as soon as received. Assuming all results are negative, the trial
                will resume on Tuesday, November 17th at 8:30 a.m.
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1:15:10 p.m.   Court adjourned.


               Plaintiff total time used: 16:03:20
               Defendant total time used: 13:00:22
               Total court time: 4:30:03

                                               DAVID O'TOOLE, CLERK

                                               BY:   Keary Conrad
                                                     Courtroom Deputy Clerk
